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                          United States Court of Appeals
                                             District of Columbia Circuit
                                    E. Barrett Prettyman United States Courthouse
                                           333 Constitution Avenue N.W.
                                            Washington, D.C. 20001-2866


Mark J. Langer                                                                                   General Information
Clerk                                             October 18, 2023                                  (202) 216-7000


                 Re:   23-3190 USA v. Donald Trump


      John F. Lauro
      Lauro & Singer
      400 N. Tampa Street
      15th Floor
      Tampa, FL 33602


      Dear Counsel:

                 It is my understanding that you represent a party in the above captioned case.

              Our records reveal that you are not a member of the bar of this court. It is the
      policy of the court that all attorneys appearing before it be members of the bar of this
      court. Our rules do not allow us to accept filings from attorneys who are not members.
      Also, the names of non-members may not appear on any opinion the court issues.
      Generally, attorneys must be members of this court to present oral argument. See D.C.
      Circuit Handbook of Practice and Internal Procedures 6 (2021).

            Unless you advise the court that you are not seeking admission and will not be
      representing a party to the case, your completed application is due by November 2,
      2023. The application and supporting documents may be electronically submitted with
      payment through the Bar Admission utility within CM/ECF.

                                                                       Very truly yours,
                                                                       Mark J. Langer, Clerk

                                                              BY:      /s/
                                                                       Scott H. Atchue
                                                                       Deputy Clerk

      The following forms and notices are available on the Court's website:

                 Application for Admission to Practice
